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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            Case No: 07-20444-CR-MARTINEZ/BANDSTRA(s)

  UNITED STATES OF AMERICA

                 vs.

  YADIRA ALLUE and
  ALEXANDER GONZALEZ,

                       Defendants.
  _______________________________/


                        UNOPPOSED MOTION FOR A GARCIA HEARING

         The United States, through the undersigned, hereby requests a hearing pursuant to pursuant

  to United States v. Garcia, 517 F.2d 272 (5th Cir. 1975) and Fed. R. Crim. P. 44(c) because

  defendants Alexander Gonzalez and Yadira Allue (hereinafter “defendants”) are jointly represented

  by the same counsel, Attorney Gregory Gonzalez.

         As grounds for its motion, the United States claims as follows:

         1.      On Thursday, July 26, 2007, a federal grand jury in the Southern District of

  Florida, issued an indictment against the defendants, who were charged in Count 5 with conspiracy

  to structure transactions to evade reporting requirements, in violation of 18 U.S.C. § 371. The

  indictment was unsealed by Magistrate Judge Garber this afternoon in Magistrate Court.

         2.      The defendants are married to each other and are both represented by attorney

  Gregory Gonzalez. During the afternoon session of Magistrate Court on July 30, 2007, Magistrate

  Judge Barry L. Garber directed the United States to file a written motion for a Garcia hearing.

         3.      It is the position of the United States that if both defendants want to be jointly

  represented by attorney Gregory Gonzalez, the Court is required to conduct a hearing pursuant to
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  United States v. Garcia, 517 F.2d 272 (5th Cir. 1975) and Fed. R. Crim. P. 44(c). At that hearing,

  the United States requests that the Court personally advise each defendant as to their right to

  effective assistance of counsel, including separate representation and the potential and/or actual

  conflicts of interest that may arise from joint representation. Additionally, the United States requests

  the Court also inform the defendants that if they do, in fact, waive the conflict of interest, any issues

  or appeals arising out of the joint representation are waived. See United States v. Rodriguez, 982

  F.2d 474 (11th Cir. 1993).

          4.      The United States has discussed this motion with attorney Gregory Gonzalez, who

  does not oppose the motion.


          WHEREFORE, the United States respectfully requests the Court conduct a Garcia

  hearing.
                                          Respectfully submitted,

                                          R. ALEXANDER ACOSTA
                                          UNITED STATES ATTORNEY


                                           By: /s/ Randall D. Katz
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                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 30, 2007, the undersigned electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF and has served the same via U.S.
  Mail to those counsel(s) who are not authorized to receive electronically Notices of Electronic
  Filing.


                                             /s/ Randall D. Katz
                                             Randall D. Katz
                                             Assistant United States Attorney
